  Case 3:11-cv-03024-RAL Document 6 Filed 08/22/12 Page 1 of 1 PageID #: 12




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH DAKOTA
                                   CENTRAL DIVISION

JUST FIDDLER,                                   *            CIV 11-3024-RAL
                                                *
          Plaintiff,                            *
                                                *
   vs.                                          *      JUDGMENT OF DISMISSAL
                                                *        WITHOUT PREJUDICE
MOREAU-GRAND ELECTRIC                           *
COOPERATIVE, INC., a domestic                   *
public utility,                                 *
                                                *
          Defendant.

         On October 11, 2011, Plaintiff filed a Complaint against Defendant. Although a

summons issued, this Court is not aware whether the Complaint ever was served on Defendant.

On August 15, 2012, Plaintiff filed a Motion to Dismiss (Doc. 5) seeking voluntary dismissal of

the Complaint without prejudice. For good cause, it is hereby

         ORDERED, DECREED AND ADJUDGED that Plaintiff's Motion to Dismiss (Doc. 5)

is granted and that Plaintiff's Complaint is dismissed without prejudice under Rules 54 and 58

of the Federal Rules of Civil Procedure.

         Dated August 22, 2012.

                                      BY THE COURT:

                                      /s/ Roberto A. Lange
                                      ROBERTO A. LANGE
                                      UNITED STATES DISTRICT JUDGE
